Case 1:11-cr-01022 Document 124 Filed on 03/01/17 in TXSD Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA §
DEPARTMENT OF JUSTICE §
U.S. ATTONREY’S OFFICE
1000 LOUISIANA, SUITE 2300
HOUSTON, TEXAS

Criminal No. 1:11-cr-01022-01

VS.

§
§
§
§
§ ABSTRACT OF JUDGMENT
§

§

RAFAEL CARDENAS VELA

 

Date Judgment Entered: | 11/17/2014

 

Judgment in Favor of: | United States of America

 

Judgment Against: | Rafael Cardenas Vela

 

Amount of Judgment: | $5,000,000.00

 

Amount of Costs:

 

Rate of Interest:

 

Amount of Credits Since | $104,547.59
Judgment:

 

Amount Due: | $

 

 

 

 

The above and foregoing is a correct Abstract of Judgment entered in the United
States District Court, for the Southern District of Texas, in the above-captioned case.

DAVID J. BRADLEY, Clerk

DATED: MAR 0 1 2017 By: Nip

Deputy Clerk

*Return to:
United States Attorney’s Office
Attn: Asset Forfeiture Section
1000 Louisiana, Ste. 2300
Houston, TX 77002
